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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

KIA COWAN,

      Plaintiff,

v.                                                   Case No: 8:23-cv-1690-CEH-AAS

LINCARE INC.,

      Defendant.
                                       /

                                     ORDER

      This cause comes before the Court upon the Report and Recommendation filed

by Magistrate Judge Amanda Arnold Sansone on July 25, 2024 (Doc. 45). In the

Report and Recommendation, Magistrate Judge Sansone recommends that the

parties’ Joint Motion for Order Approving Settlement and Dismissing Case with

Prejudice (Doc. 44) be granted. All parties were furnished copies of the Report and

Recommendation and were afforded the opportunity to file objections pursuant to 28

U.S.C. § 636(b)(1). No such objections were filed.

      Upon consideration of the Report and Recommendation, and upon this Court's

independent examination of the file, it is determined that the Report and

Recommendation should be adopted, confirmed, and approved in all respects.

Accordingly, it is now,
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      ORDERED AND ADJUDGED that:

      (1)   The Report and Recommendation of the Magistrate Judge (Doc. 45) is

            adopted, confirmed, and approved in all respects and is made a part of

            this Order for all purposes, including appellate review.

      (2)   The parties’ Joint Motion for Order Approving Settlement and

            Dismissing Case with Prejudice (Doc. 44) is GRANTED.

      (3)   The settlement agreement (Doc. 44-1) is accepted, adopted, and

            approved by the Court, and the parties are ordered to execute the

            settlement agreement and comply with the terms of the executed

            settlement agreement.

      (4)   This action is DISMISSED with prejudice.

      (5)   The Clerk is directed to terminate all pending deadlines and to

            close this case.

      DONE AND ORDERED at Tampa, Florida on August 16, 2024.




Copies to:
The Honorable Amanda Arnold Sansone
Counsel of Record




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